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17                              UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF CALIFORNIA
18                                 SAN FRANCISCO DIVISION
19

20 IN RE GOOGLE PLAY STORE                           Case No. 3:21-md-02981-JD
   ANTITRUST LITIGATION
21
   THIS DOCUMENT RELATES TO:                         STIPULATION AND [PROPOSED]
22                                                   ORDER RE DEADLINES IN
   In re Google Play Consumer Antitrust              CONSUMERS’ AND STATES’ ACTIONS
23 Litigation, Case No. 3:20-cv-05761-JD             IN LIGHT OF TENTATIVE
                                                     SETTLEMENT
24 State of Utah et al. v. Google LLC et al.,
   Case No. 3:21-cv-05227-JD                         [Civil L.R. 6-2]
25                                                   Judge: Hon. James Donato

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                              STIPULATION AND [PROPOSED] ORDER RE
        DEADLINES IN CONSUMERS’ AND STATES’ ACTIONS IN LIGHT OF TENTATIVE SETTLEMENT
                      Case Nos. 3:21-md-02981-JD; 3:20-cv-05761-JD; 3:21-cv-05227-JD
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 1         Plaintiffs in State of Utah et al. v. Google LLC et al., Case No. 3:21-cv-05227-JD

 2 (“States”), Plaintiffs in In re Google Play Consumer Antitrust Litigation, Case No. 3:20-cv-05761-

 3 JD (“Consumers”), and Defendants Alphabet Inc., Google LLC, Google Ireland Limited, Google

 4 Commerce Limited, Google Asia Pacific Pte. Limited, and Google Payment Corp. (collectively,

 5 “Google”), stipulate as follows under Civil Local Rule 6-2:

 6 RECITALS:

 7 1.      On September 5, 2023, States, Consumers, and Google (“Settling Parties”) reached an

 8         agreement in principle to settle this case. The agreement is the product of mediation

 9         efforts spanning many months.

10 2.      The settlement in principle is subject to approval by the State Attorneys General and

11         Alphabet’s Board of Directors, execution of a long-form settlement agreement, and

12         approval by the Court. The Settling Parties anticipate submitting a long-form settlement

13         agreement to the Court for preliminary approval in approximately 30 days.

14 3.      The Settling Parties anticipate that the States will seek approval of an Amended Complaint

15         that will include all of the settling jurisdictions shortly before or at the same time the

16         Settling Parties submit the long-form settlement agreement to the Court for preliminary

17         approval. Because the long-form settlement agreement is anticipated to include all U.S.

18         states and territories as well as the named consumer plaintiffs, the settlement will not
19         require certification of a settlement class.

20 4.      To provide the Settling Parties the opportunity to finalize and enter into a long-form

21         agreement and develop and propose a plan for notice and Court approval of the settlement,

22         the Settling Parties respectfully request that the Court vacate the November 6 trial date as

23         between the Settling Parties and suspend the interim pre-trial deadlines as between the

24         Settling Parties (including with respect to jury instructions, verdict forms, witness lists,

25         exhibit lists, motions in limine, deposition designations, factual stipulations, proposed voir

26         dire, glossary of specialized terms, and the joint pre-trial statement). If the Court does not
27         approve the settlement or the settlement agreement is terminated for any reason, the parties

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                              STIPULATION AND [PROPOSED] ORDER RE
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           Case 3:21-cv-05227-JD Document 443 Filed 09/05/23 Page 3 of 6




 1            shall be returned to their respective litigation positions and will meet and confer regarding

 2            whether any adjustments are needed in the schedules for their respective cases.

 3 5.         The Settling Parties submit that good cause exists to grant the requested relief. In light of

 4            the settlement in principle, further litigation among the Settling Parties would waste

 5            judicial and party (including public) resources, could interfere with finalization of the

 6            settlement, and would create substantial uncertainty for all parties regarding which parties

 7            will participate in the trial.

 8 6.         The Settling Parties note that, in light of the settlement in principle, if the Court grants the

 9            relief requested herein, then it need not decide the following pending issues at this time:

10            (1) Google’s Motion to Exclude Merits Opinion of Dr. Marc Rysman, ECF No. 484 (Apr.

11            20, 2023),1 (2) the portion of Google’s Motion for Partial Summary Judgment addressing

12            the standing of Consumers and States, ECF No. 483 at pp. 17-20 (Apr. 20, 2023), and (3)

13            States’ Motion for Approval of Notice of Pendency and Opportunity to Opt-Out For Parens

14            Patriae Claims, ECF No. 546 (Jul. 27, 2023).

15 7.         In light of the settlement in principle, Consumers have agreed not to oppose vacatur of the

16            Court’s class certification decision.2

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         All references are to the MDL Docket, 3:21-md-02981-JD.
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     On August 28, 2023, the Court granted Google’s motion to exclude the injury and damages
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22 opinions of Dr. Hal Singer (see ECF No. 588) and issued an order indicating that its “order
   granting certification should be vacated,” noting that it lacked jurisdiction to do so while Google’s
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   appeal of the certification order was pending in the Court of Appeals, and directing the parties “to
24 meet and confer, and be prepared to discuss proposed next steps with the Court at the September
   7, 2023 status conference.” (ECF No. 589 at 1). On August 31, 2023, the Ninth Circuit issued an
25 order granting a limited remand stating: “Given the district court’s indication that it would
   reconsider class certification, the Court grants the motion to vacate the scheduled oral argument in
26 the appeal and to remand the case to the district for further proceedings,” while retaining
   jurisdiction over the appeal and directing the parties to notify the Court “when the district court
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   has issued an order pertaining to the class certification.” Clerk Order, Case No. 23-15285 (9th Cir.
28 Aug. 31, 2023).
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                                 STIPULATION AND [PROPOSED] ORDER RE
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                         Case Nos. 3:21-md-02981-JD; 3:20-cv-05761-JD; 3:21-cv-05227-JD
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 1        NOW, THEREFORE, IT IS STIPULATED AND AGREED, SUBJECT TO THE
 2 APPROVAL OF THE COURT:

 3 1.     The November 6, 2023, trial date as among or between any of States, Consumers, and

 4        Google in State of Utah et al. v. Google LLC et al., Case No. 3:21-cv-05227-JD and In re

 5        Google Play Consumer Antitrust Litigation, shall be vacated, and all pre-trial deadlines

 6        relevant to those cases shall be suspended pending the status conference referenced below.

 7 2.     States, Consumers, and Google, shall appear at a status conference on October 12, 2023, to

 8        report on the status of the settlement and the plan for seeking Court approval of the

 9        settlement.

10 3.     The Court’s class certification decision, ECF No. 383, is vacated.

11 DATED: September 5, 2023                  Respectfully submitted,

12                                           BARTLIT BECK LLP
                                              Karma M. Giulianelli
13

14                                           KAPLAN FOX & KILSHEIMER LLP
                                              Hae Sung Nam
15

16
                                             By:          /s/ Karma M. Giulianelli
17
                                                         Karma M. Giulianelli
18
                                                   Co-Lead Counsel for the Proposed Class in In re
19                                                 Google Play Consumer Antitrust Litigation
20 DATED: September 5, 2023                  Respectfully submitted,
21
                                             OFFICE OF THE UTAH ATTORNEY GENERAL
22                                            Brendan P. Glackin
                                              Lauren M. Weinstein
23

24
                                             By:           /s/ Brendan P. Glackin
25
                                                         Brendan P. Glackin
26
                                                   Counsel for Utah
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                              STIPULATION AND [PROPOSED] ORDER RE
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       Case 3:21-cv-05227-JD Document 443 Filed 09/05/23 Page 5 of 6




 1 DATED: September 5, 2023           Respectfully submitted,

 2                                    MUNGER, TOLLES & OLSON LLP
                                       Glenn D. Pomerantz
 3
                                       Kuruvilla Olasa
 4                                     Emily C. Curran-Huberty
                                       Jonathan I. Kravis
 5                                     Justin P. Raphael
                                       Kyle W. Mach
 6

 7

 8                                    By:           /s/ Glenn D. Pomerantz
                                                  Glenn D. Pomerantz
 9
                                            Defendants Google LLC et al.
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12       PURSUANT TO STIPULATION, IT IS SO ORDERED.
13

14 Dated: _________________________          ______________________________________
15                                                      United States District Judge

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                             STIPULATION AND [PROPOSED] ORDER RE
       DEADLINES IN CONSUMERS’ AND STATES’ ACTIONS IN LIGHT OF TENTATIVE SETTLEMENT
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 1                                       E-FILING ATTESTATION
 2 I, Kuruvilla Olasa, am the ECF User whose ID and password are being used to file this document.

 3 In compliance with Civil Local Rule 5-1(i)(3), I hereby attest that each of the signatories identified

 4 above has concurred in this filing.

 5

 6                                                            /s/ Kuruvilla Olasa
                                                                Kuruvilla Olasa
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                              STIPULATION AND [PROPOSED] ORDER RE
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